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VIA ECF

Hon. Victor Marrero
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

May 26, 2023

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Marrero,

       We write on behalf of Robert Seiden in his capacity as the Court-appointed temporary
receiver (“Receiver”) over Link Motion Inc. (“LKM”) in opposition to Vincent Shi’s (“Shi”)
motion via order to show cause (ECF 421) filed this morning seeking to enjoin the Receiver from
proceeding with the Extraordinary General Meeting (“EGM”) of LKM shareholders that is
scheduled to occur on May 30 and 31, 2023.

       While labeled as an injunctive motion, Shi’s application is in substance a motion for
reconsideration of the Court’s prior denials of his attempts to enjoin the EGM, and a transparent
attempt to relitigate this issue for a fourth time. “The standard for granting such a motion is strict,
and reconsideration will generally be denied unless the moving party can point to controlling
decisions or data that the court overlooked—matters, in other words, that might reasonably be
expected to alter the conclusion reached by the court.” Shrader v. CSX Transp., Inc., 70 F.3d 255,
257 (2d Cir. 1995). Shi’s newest request contains neither of these, pointing only to a Note
Agreement already approved by this Court.

        Incredibly, yesterday Shi also filed an improper appeal of this Court’s May 10, 2023 order
(ECF 417) permitting the EGM to proceed, and an “emergency” motion to the Second Circuit to
stay the EGM pending the appeal. Earlier today, the Receiver submitted a letter opposing that
motion (attached hereto at Exhibit 1). This afternoon, the Second Circuit issued an order denying
Shi’s motion (attached hereto at Exhibit 2).

        This Court has repeatedly reaffirmed the Receiver’s authority to proceed with the EGM,
denying three prior applications by Shi to block it. Most recently, on May 10, 2023, the Court
“reaffirm[ed] its prior findings (see ECF 338 and 364) that the Receiver maintains the authority
to convene an [EGM] of the LKM Board provided that (1) Lilin “Francis” Guo appears at the
EGM; and (2) it is convened prior to the Receiver’s discharge.” ECF 417 at 2. Notwithstanding
Shi’s flurry of filings in multiple courts on the eve of the Memorial Day weekend, there is no


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basis to disturb this Court’s prior orders permitting the EGM to proceed. Shi’s order to show
cause should be denied.

                                                         Respectfully submitted,

                                                         /s/ Amiad Kushner
                                                         Amiad Kushner
cc:

Hon. Valerie Figueredo
United States District Court
Southern District of New York
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